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                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF OKLAHOMA
Tyrell Hills,                         :
                                      :
                   Plaintiff,         :                   CIV-13-469-D
                                        Civil Action No.: ______
       v.                             :
                                      :
Riexinger & Associates, LLC; and DOES :
1-10, inclusive,                      :
                                        COMPLAINT AND
                                      :
                                        DEMAND FOR JURY TRIAL
                   Defendants.        :
                                      :
                                      :

       For this Complaint, the Plaintiff, Tyrell Hills, by undersigned counsel, states as

follows:

                                       JURISDICTION

       1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of

Plaintiff’s personal privacy by the Defendant and its agents in their illegal efforts to

collect a consumer debt.

       2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

       3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving

rise to this action occurred in this District.
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                                          PARTIES

       4.      The Plaintiff, Tyrell Hills (“Plaintiff”), is an adult individual residing in

Ponca City, Oklahoma, and is a “consumer” as the term is defined by 15 U.S.C. §

1692a(3).

       5.      Defendant Riexinger & Associates, LLC (“Riexinger”), is a Georgia

business entity with an address of 3100 Breckinridge Boulevard, Suite 722, Duluth,

Georgia 30096, operating as a collection agency, and is a “debt collector” as the term is

defined by 15 U.S.C. § 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by

Riexinger and whose identities are currently unknown to the Plaintiff. One or more of

the Collectors may be joined as parties once their identities are disclosed through

discovery.

       7.      Riexinger at all times acted by and through one or more of the Collectors.

                  ALLEGATIONS APPLICABLE TO ALL COUNTS

    A. The Debt

       8.      The Plaintiff allegedly incurred a financial obligation in the approximate

amount of $254.24 (the “Debt”) to Continental Finance (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes and which meets the definition of a

“debt” under 15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to Riexinger for

collection, or Riexinger was employed by the Creditor to collect the Debt.
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         11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

    B. Riexinger Engages in Harassment and Abusive Tactics

         12.     Within the last year, Riexinger contacted Plaintiff in an attempt to collect

the Debt.

         13.     During the initial conversation, Plaintiff informed Riexinger that he just

became aware of the Debt and requested a collection letter in the mail to which he could

respond requesting validation of the Debt.

         14.     Riexinger stated that such letter had already been mailed to Plaintiff’s last

known address and it came back as undeliverable.

         15.     Plaintiff provided Riexinger with his current address and asked for the

same letter to be sent to that address.

         16.     Riexinger refused to do so and stated that “our client knows it is a valid

debt”.

         17.     Further, Riexinger offered Plaintiff to settle to the Debt for 50 per cent of

its value, but stated taht the settlement offer would no longer be valid should Plaintiff

request validation.

    C. Plaintiff Suffered Actual Damages

         18.     The Plaintiff has suffered and continues to suffer actual damages as a result

of the Defendants’ unlawful conduct.




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       19.     As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional

distress, fear, frustration and embarrassment.

       20.     The Defendants’ conduct was so outrageous in character, and so extreme in

degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious,

and utterly intolerable in a civilized community.

                                         COUNT I

     VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                             15 U.S.C. § 1692, et seq.
      21. The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       22.     The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants

engaged in behavior the natural consequence of which was to harass, oppress, or abuse

the Plaintiff in connection with the collection of a debt.

       23.     The Defendants’ conduct violated 15 U.S.C. § 1692e in that Defendants

used false, deceptive, or misleading representation or means in connection with the

collection of a debt.

       24.     The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that

Defendants employed false and deceptive means to collect a debt.

       25.     The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants

used unfair and unconscionable means to collect a debt.




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       26.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a) in that Defendants

failed to send Plaintiff an initial letter within five days of its initial contact with Plaintiff

as required by law.

       27.     The foregoing acts and omissions of the Defendants constitute numerous

and multiple violations of the FDCPA, including every one of the above-cited provisions.

       28.     The Plaintiff is entitled to damages as a result of Defendants’ violations.

                                   PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:

                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the

                      Defendants;

                   2. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

                      §1692k(a)(2)(A) against the Defendants;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                      § 1692k(a)(3) against the Defendants;

                   4. Actual damages from the Defendants for all damages including

                      emotional distress suffered as a result of the intentional, reckless,

                      and/or negligent FDCPA violations; and intentional and/or reckless

                      invasions of privacy in an amount to be determined at trial for the

                      Plaintiff;

                   5. Punitive damages; and

                   6. Such other and further relief as may be just and proper.


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Dated: May 8, 2013



                                   Respectfully submitted,

                                   By /s/ Sergei Lemberg

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